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 7
                          UNITED STATES DISTRICT COURT
 8
                        CENTRAL DISTRICT OF CALIFORNIA
 9
     UNITED STATES OF AMERICA,              Case No.: 2:19-cr-00642-VAP
10                                               No.: 2:20-cr-00155-VAP
11                Plaintiff,
                                            DEFENDANT’S NOTICE OF
12        v.                                NINTH CIRCUIT STAY OF
13   IMAAD SHAH ZUBERI,                     REPORT DATE

14                Defendant.
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               DEFENDANT’S NOTICE OF NINTH CIRCUIT STAY OF REPORT DATE

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 1           NOTICE OF NINTH CIRCUIT STAY OF REPORT DATE
 2   TO ALL PARTIES AND THEIR COUNSEL OF RECORD:
 3         PLEASE TAKE NOTICE that on June 10, 2021, Defendant Imaad Shah
 4   Zuberi’s report date of June 18, 2021 was temporarily stayed by the United
 5   States Court of Appeals for the Ninth Circuit, pending the Ninth Circuit’s ruling
 6   on Mr. Zuberi Motion to Continue Release Pending Appeal.
 7         A copy of the Ninth Circuit’s docket, reflecting the Ninth Circuit’s June
 8   10, 2021 clerk text order, is attached as Ex. A. Docket entry 20 states:
 9         06/10/2021 20         Filed text clerk order. Received motion for bail
                                 under FRAP 9(b). Ninth Circuit Rule 9-1.2(e)
10
                                 applies. If appellant is currently on bail, that
11                               bail remains in effect until the Court rules on
                                 the motion. [12141051] [21-50048, 21-50084]
12
                                 (WL) [Entered: 06/10/2021 04:08 PM]
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                                        *      *      *
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           Ninth Circuit Rule 9-1.2, governing Release Pending Appeal, provides in
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     relevant part: “(e) If the appellant is on bail at the time the motion is filed in
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     this Court, that bail will remain in effect until the Court rules on the motion.”
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           “The operation of the rule .. is automatic and provides an appellant, who
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     is still released, whether on bond or on his own recognizance, with an automatic
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     stay of surrender upon the filing in this court of a motion for bail pending ap-
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     peal.” United States v. Fuentes, 946 F.2d 621, 622 (9th Cir. 1991); accord
21
     United States v. Nix, No. 18-30242, Order, Dkt. 6 (9th Cir. filed Jan. 3, 2019)
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     (copy attached as Ex. B).
23
           On June 9, 2021, Defendant Zuberi filed his Motion to Continue Release
24
     Pending Appeal in the U.S. Court of Appeals for the Ninth Circuit. See Ex. A,
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     Dkt. 18. His motion noted that he was on release on bail at the time of the mo-
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     tion. (A copy of page 1 of Zuberi’s motion is attached as Ex. C).
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                   DEFENDANT’S NOTICE OF MOTION AND MOTION FOR
                           RELEASE PENDING APPEAL
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 1         Accordingly, on June 10, 2021, the Clerk of the Court of Appeals entered
 2   the above-quoted text order, providing that Zuberi’s “bail remains in effect until
 3   the Court rules on the motion.”
 4         Zuberi, through counsel, gave notice to the government of the effect of
 5   Ninth Circuit Rule 9.1-2(e) in his June 9, 2021 motion. See Ex. C.
 6         On June 9, 2021, counsel notified Zuberi’s Probation Officer by email of
 7   the filing of the motion, and the effect of Ninth Circuit Rule 9-1.2(e) in staying
 8   Zuberi’s report date. On June 11, 2021, counsel notified the Probation Office
 9   by email, and the U.S. Marshals Service by telephone, of the Ninth Circuit’s is-
10   suance of its June 10 text order staying Zuberi’s surrender date. A copy of
11   counsel’s e-mail chain to the Probation Officer, attaching the Ninth Circuit’s
12   docket containing the text order, is attached as Ex. D.
13   Dated: June 22, 2021                          Respectfully submitted,
14                                                 DHILLON LAW GROUP
15                                                 By: David A. Warrington
                                                   David A. Warrington
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17                                                 Counsel for Defendant
                                                   Imaad Shah Zuberi
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                  DEFENDANT’S NOTICE OF MOTION AND MOTION FOR
                          RELEASE PENDING APPEAL
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